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                                   UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                                :
                                                        :        Case No. 21-CR-83 (TNM)
           v.                                           :
                                                        :
BRANDON FELLOWS,                                        :
                                                        :
                    Defendant.                          :

                      GOVERNMENT’S MOTION TO ADMIT DEFENDANT’S
                        DETENTION HEARING TESTIMONY AT TRIAL

           The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits that the defendant, Brandon Fellows, by testifying

at the October 12, 2021 reopening of his detention/bail hearing, knowingly and intelligently

waived his Fifth Amendment right against self-incrimination. 1 For the reasons set forth below, the

government requests that the Court admit the defendant’s testimony at trial.

                                                 BACKGROUND

           The defendant was charged by Complaint on January 15, 2021, with violating Title 18,

U.S.C. § 1752(a) (knowingly entering or remaining in any restricted building or grounds without

lawful authority) and Title 40, § 5104(e)(2) (violent entry or disorderly conduct), misdemeanors

concerning his presence and actions during the January 6, 2021 riots at the U.S. Capitol Building.

ECF Doc. 1, Complaint. The defendant was arrested on January 16, 2021, in Albany, New York.

ECF Doc. 8 at 1, Returned Arrest Warrant. On January 16, 2021, defendant had a first appearance,

and was released on bond in the Northern District of New York. Id. at 23, Order to Release; 25-

26, Minute Entry. The Magistrate Judge set another hearing in order to first review a Pretrial




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    The undersigned thanks David Kidd for his assistance in the research and preparation of this motion.

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Services report to decide if the defendant was a flight risk 2 under Title18, U.S.C. § 3142(f)(2(A)

Id. at 23, Order to Release; 25-26, Minute Entry. The Court decided to release the defendant, but

ordered certain conditions including home detention and electronic monitoring. Id. at 21,

Conditions of Release.

         On February 3, 2021, the defendant appeared before Magistrate Judge Robin M.

Meriweather via video and was placed on GPS monitoring and a curfew of 9:00 p.m. to 6:00 a.m.

ECF Doc. 9 at 2, Order Setting Conditions of Release. Magistrate Judge Meriweather further

ordered that the defendant actively seek or maintain employment and report any contact with law

enforcement Id.

         On February 5, 2021, the grand jury indicted the defendant on five counts:                             four

misdemeanor violations of Title 18, U.S.C.                    §§ 1752(a)(1), (2) and Title 40, U.S.C.

§§5104(e)(2)(C), (D) and a felony violation of Title 18, U.S.C. §§ 1512(d)(2) and 2 for Obstruction

of an Official Proceeding and Aiding and Abetting the same. ECF Doc. 6.

         On June 14, 2021 the Pretrial Service Agency (PSA) issued a violation report stating that

defendant had a mental evaluation appointment for 11:00 a.m. (June 14, 2021), but called the

agency and cancelled because he was not feeling well. ECF Doc. 29, Petition for Warrant. When

the U.S. Probation Office (“USPO”) officer talked with him he asked to be able to work, despite

“not feeling great.”       He was told no, then asked the USPO officer “have you checked your

hormones.” He was called again and directed to report to the USPO officer by the supervisory

USPO officer at 3:45 p.m. June 14, 2021. Id.

         Shortly after that last call, the USPO officer learned that a man had called the USPO

officer’s mother, who lives in another state, and the man was asking for the USPO officer and


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  According to the agents and reports in this case, the defendant had told the FBI he would self-surrender but failed
to do so causing law enforcement to search for him by obtaining legal process for real time location information.

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asked twice if that was the correct number for the USPO officer, using the full name of the officer.

Id. The mother offered to pass a message to the USPO officer, and the caller said he would just

contact the USPO officer on their “other numbers.” Id. Caller ID identified the caller’s number as

the same number used by the defendant to contact U.S. Probation for official business. Id.

       Lastly, the USPO indicated a prior instance when the defendant was allegedly harassing a

former girlfriend. Ultimately, the defendant was found to be in violation of an Order of Protection.

When the clerk of the court tried to call the defendant at the number he had listed as his contact on

official court records, the number rang through to the Judge’s wife’s office. Id.

       The Court held a hearing on the Petition for Warrant and to revoke his release on July 14-

15, 2021. After a hearing over two days during which witnesses testified, the Court revoked the

defendant’s release. ECF Doc. 37, Trans. of 7-15-21 hrg. at 6, 8-9. On the first day of the hearing,

the defendant indicated his willingness to testify, despite the Court and counsel’s repeated advice

against doing so. ECF Doc. 46, Trans. of 7-14-21 hrg. at 75-77. In this hearing, the defendant

stated that he has “been made well aware of the risks” but was “willing to accept those risks.” Id.

at 76. The hearing was continued to a second day to ensure the defendant was aware of the risks

of testifying. The defendant told the Court he had reconsidered, then apologized before the court

and chose not to testify. Id. at 79; ECF Doc. 37 at 3-4.

       On September 7, 2021, the Court held a status conference where the defendant reiterated

his desire to testify in his own behalf. ECF Doc.43, Trans. of 9-7-21 hrg. at 14-15 (Attachment A).

The defendant’s counsel told the Court that she advised the defendant that “anything he says in

open court could potentially be used against him in a further proceeding.” Id. at 11. The defendant

cited his own legal research and throughout seven (7) pages of legal discussion stated, “One of the

things I’ve intensely studied is the many cons and few pros of self-representation.” Id. at 13. He



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advised the Court that despite reading that the Supreme Court justices found representing yourself

was “akin to a defendant waiving his right to a fair trial” he was “still asserting” his “Sixth

Amendment right to self-representation.” Id. at 14 -15. The Court then set another hearing to

consider the defendant’s request to represent himself and his pro se motion to reopen his detention

hearing. Id. at 22-24.

        On September 23, 2021, a hearing was held to determine if the defendant would represent

himself. ECF Doc.__, Trans. of 9-23-21 hrg. at 2 (Attachment B). At this hearing, the court once

again walked the defendant through the seriousness of his charges and the difficulties of self-

representation, which the defendant affirmatively acknowledged. The defendant stated that he

understood he was charged with a series of crimes including a felony and is facing “some pretty

significant liability in terms of potential incarceration and fines.” Id. at 3. He stated he understood

that if he decided to represent himself the court cannot advise him how he should try his case. Id.

at 4. And he stated he understood that he must abide by the technical Rules of Evidence and the

Federal Rules of Criminal Procedure, of which he had done some reading. Id.

        The Court strongly urged the defendant not to represent himself and stated that in his own

opinion it was unwise because the defendant was not familiar with the law, familiar with court

procedure, or familiar with the Rules of Evidence. Id. at 5. Defendant’s counsel stated that she had

already “gone over the exact same questions” that the court just went over with the defendant and

that “it does appear that [the defendant] is knowingly and voluntarily making a decision to

represent himself.” Id. at 6. The court asked the defendant “in light of the penalty that you might

suffer if you’re found guilty and in light of all the difficulties of representing yourself, do you still

desire to represent yourself and to give up your right to be represented by an attorney,” and the

defendant answer affirmatively with “I do.” Id. at 5-6. The Court then found that “the defendant



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has knowingly and voluntarily waived the right to counsel” and permitted the defendant to

represent himself. Id.

        On October 12, 2021, the Court held a hearing to consider reopening the

defendant’s detention status. ECF Doc. 55, Trans. of 10-12-21 hrg. at 1 (Attachment C).

The defendant had filed a motion to reopen the detention hearing and the government

responded. ECF Docs. 45, 47. The Court once again warned the defendant of the risks of

testifying:

        to the extent you plan to talk about things after January 6th and compliance with
        your release conditions, I don’t think you are opening yourself up to any Fifth
        Amendment challenge there in this case…” but “if you do decide you want to talk
        about January 6th or matters directly relating to the charges against you, you
        may be opening yourself up to those being used against you in trial, in the very
        least, in a cross-examination setting should you choose to take the stand I
        encourage you to talk with Ms. Halverson before you, kind of, get into those areas
        or just warn you that there are potential drawbacks to doing that. Does that make
        sense, sir?

Doc. 55 at 10-11 (emphasis added). The defendant acknowledged “Yes, Sir” and the court granted

him an opportunity to speak. Id. at 11.

        The defendant’s testimony, under oath, related to both compliance with his release

conditions and January 6th matters directly relating to the charges against him. The defendant

admitted to going into the Capitol. Id. at 63. The defendant admitted to entering the Capitol through

a broken window and standing upon a splintered and smashed desk while waving a flag. Id. at 65,

67-68. The defendant admitted to entering U.S. Senator Jeff Merkley’s office. Id. at 69. And the

defendant admitted to smoking marijuana inside the Capitol building and to saying the same during

interviews with CNN and other news outlets. Id. at 63. The Court denied the defendant’s request

for release and ordered that he remain in custody pending trial. Id. at 89.




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                                    ARGUMENT AND LAW

   I.      BRANDON FELLOWS KNOWINGLY AND INTELLIGENTLY WAIVED HIS
           FIFTH AMENDMENT RIGHT AGAINST SELF-INCRIMINATION.

        Defendant Brandon Fellow’s testimony on October 12, 2021 should be admitted as

evidence at his trial. A defendant’s testimony at detention hearings is admissible at trial if they

knowingly and intelligently waived their Fifth Amendment Right against self-incrimination.

United States v. Dohm, 618 F.2d 1169, 1175 (5th Cir. 1980); United States v. Ingraham, 832 F.2d

229, 240 (1st Cir. 1987). See also McGahee v. Massey, 667 F.2d 1357, 1364 (11th Cir. 1982), pet.

cert. den. 103 S. Ct. 255 (1982).

        In United States. v. Ingraham, a magistrate judge warned a defendant in a detention hearing

that he was “not required to make any statement to anybody” and that if he did make a statement,

it could be used as evidence against him. 832 F.2d 229, 240 (1st Cir. 1987). Nevertheless, the

defendant insisted that he be allowed to speak on his own behalf and made remarks admonishing

his perceived enemies and federal officials which were later used against him at trial. Id. at 240.

The First Circuit held that the defendant’s testimony at the bond hearing was admissible at trial

because when he made his statements he knowingly and willingly waived his privilege against

self-incrimination. Id. at 239.

        Similarly, the defendant herein knowingly and intelligently waived his Fifth Amendment

right against self-incrimination. From July through October, the District Judge and defendant’s

prior counsel continually advised him of the risks of testifying. ECF Doc. 46, Trans. of 7-14-21

Hrg. at 75-77; Doc.43, Trans. of 9-7-21 hrg., Att. A at 11; Doc.__, Trans. of 9-23-21 Hrg., Att. B

at 3-4; Doc. 55, Trans. of 10-12-21 hrg., Att. C at 10. The defendant told the Court time and again

that he understood and personally researched these risks but proceeded with his testimony

regardless. Doc. 46 at 76; Doc.43, Att. A at 14-15; Doc.__, Att. B at 3-4; Doc. 55, Att. C at 11. In

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the July 14th status hearing after being advised by his counsel that personally addressing the court

was not in his best interest, he requested to speak and offered to be “cross-examined” and have

everything he said “initiated as facts” before the court. ECF Doc. 46 at 76. In this hearing he stated

that he has “been made well aware of the risks” but was “willing to accept those risks.” Id. His

request to speak to the court was only delayed to the next day, the July 15th status hearing, so that

the court could ensure that by that time he would “completely understand” what he was doing —

and suggested that defendant speak with another attorney to obtain a second opinion as to the

wisdom of his plan. Id. at 79. The next day, the defendant apparently came to terms with the

seriousness of testifying, apologized to the court, and did not proceed with self-representation.

ECF Doc. 37, Trans. of 7-15-21 hrg. at 3-4.

        However, at the September 7th status hearing, although his counsel once again advised him

that “anything he says in open court could potentially be used against him in a further proceeding,”

he stated that in the time since the last hearing he had “intensely studied [] the many cons and few

pros of self-representation” and “now that I have researched into self-representation, it is what I

want.” ECF Doc. 43, Trans. of 9-7-21 hrg., Att. A at 12-14. At this status hearing, he cited his

legal research, including Justice Blackmun’s adage that “one who is his own lawyer has a fool for

a client,” but despite all of this self-proclaimed “startling information” he still chose to self-testify

before the court. Id. at 12-14. During the September 23rd hearing, he was again reminded of the

great penalty that he might suffer if found guilty and of the difficulties of representing himself, but

answered affirmatively to represent himself and “give up [his] right to be represented by an

attorney.” ECF Doc.__, Trans. of 9-23-21 hrg., Att. B at 3- 4. And at the October 12th detention

hearing, the court advised him once again that “if you do decide you want to talk about January

6th or matters directly relating to the charges against you, you may be opening yourself up to those



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being used against you in trial, in the very least, in a cross-examination setting should you choose

to take the stand.” ECF Doc. 55, Att. C at 10-11. Although the defendant acknowledged the

statement, he ultimately chose to speak about the events of January 6th and the matters directly

relating to the charges against him. Id. at 10-11.

       When a defendant knowingly makes an informed decision to testify, his statements are

admissible against him. In United States v. Dean, the defendant, who had counsel, complained

that the magistrate had not warned him that his testimony at his detention hearing could be used

against him. 927 F.2d 605, 1991 WL 29197 at * 4 (6th Cir. 1991). The Sixth Circuit found such

use of the testimony at trial was harmless error, but also said:

       Dean was advised of his rights on more than one occasion, and he had counsel at the bail
       hearing. It was his own counsel who called him to testify. At the first detention hearing,
       Dean elected not to testify, so he knew the choice was his. Although a court is required to
       tell a defendant that he need not testify, we know of no rule requiring the judicial officer
       to intercede when a defendant, represented by counsel, elects to testify.

Like Defendant Dean, Brandon Fellows well knew the risks of testifying but proceeded anyway.

He knowingly and intelligently waived his Fifth Amendment right against self-incrimination.

       Lastly, the Court’s warning of the risk of testifying was neither misleading nor confusing.

In United States v. Dohm, the court held that the defendant failed to make a knowing and intelligent

waiver of his right against self-incrimination because the magistrate’s statement advising the

defendant was misleading and confusing. 618 F.2d 1169, 1175 (5th Cir. 1980). Although the

magistrate had cautioned the defendant that “you may say something that might hurt you in the

future proceedings…” he had also disclaimed “but I don’t know how it can be done. Technically,

they won’t use it.” Id. No such confusion occurred here. Instead, the court made every attempt to

ensure that the defendant fully understood the gravity of self-representation. Even immediately

before the defendant began his testimony, this Court directly reiterated that “if you do decide you



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want to talk about January 6th or matters directly relating to the charges against you, you may be

opening yourself up to those being used against you in trial…” ECF Doc. 55, Trans. of 10-12-21

Hrg., Att. C at 10. This admonishment was clearly understood by the defendant as he

acknowledged the risk and impact of testifying on his own behalf when he responded, “I have

shown that I am not afraid of sharing the truth even if it damages me because I am hoping that

shows I do take ownership that, hey, I have done this.” Id. at 82. The defendant’s testimony should

be admitted as evidence at his trial on the merits as he willingly and intelligently waved his Fifth

Amendment right against self-incrimination.

    II.      THE HOLDING IN SIMMONS V. UNITED STATES DOES NOT APPLY TO A
             DEFENDANT’S TESTIMONY AT A DETENTION HEARING

          In Simmons v. United States, the Supreme Court held that “when a defendant testifies in

support of a motion to suppress evidence on Fourth Amendment grounds, his testimony may not

thereafter be admitted against him at trial on the issue of guilt…” 390 U.S. 377, 394 (1968). The

Court reasoned that suppression hearings contained an apparent conflict between a defendant’s

constitutional rights, and it is “intolerable that one constitutional right should have to be

surrendered in order to assert another. Id. at 394. In a suppression hearing, this conflict is the

defendant’s forced choice between asserting a Fourth Amendment claim to attempt to deprive the

prosecution of evidence and retaining their Fifth Amendment privilege against self-incrimination

for that voiced assertion. Id.

          Detention hearings are fundamentally different than the Fourth Amendment suppression

hearings concerned in Simmons. The First and Fifth Circuits have held that Simmons does not

apply to testimony given by a defendant at a detention hearing because there is not a similar

conflict as in Simmons between the Eight Amendment right to bail and the Fifth Amendment’s

right against self-incrimination. United States v. Dohm, 618 F.2d 1169, 1173-74 (5th Cir. 1980).

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See also United States. v. Parker, 848 F.2d 61, 62-63 (5th Cir. 1988); United States v. Ingraham,

832 F.2d 229, 237 (1st Cir. 1987) (defendant need not testify since evidence by hearsay or proffer

is available); United States v. Melanson, 691 F.2d 579, 583-84 (1st Cir. 1982). A detention hearing

does not require a defendant to surrender their Fifth amendment rights to assert their right to bail

because a detention hearing does not compel a defendant to divulge the facts of the case to secure

their release. Id. at 584.

        By contrast, in a case involving a rebuttable presumption under the Bail Reform Act, Title

18 U.S.C. § 3142(e), the Third Circuit determined that a defendant was entitled to “use-fruits

immunity” when a defendant testifies at a detention hearing to rebut a presumption of detention

and of posing a serious risk of danger to the community. United States v. Perry, 788 F.2d 100,

115-117 (3rd Cir. 1986). The Perry Court noted that while other testimony could be available to

rebut the presumption from co-workers, neighbors, friends, and others, it may not be enough. Id.

at 115. Thus, a defendant is between a rock and a hard place, and should be able to testify if

necessary, without giving up his right against self-incrimination to assert the right to liberty. Id.

See also United States v. Enix, 212 F. Supp. 3d 408, 411 (W.D.N.Y. 2016) (holding inadmissible

detention hearing testimony but permitting such use as impeachment evidence if necessary).

        A district court in the Ninth Circuit similarly followed the holding in Perry. In United

States v. Medrano, the defendant was charged with two offenses that implicated the rebuttal

presumption of 18 U.S.C. § 3142(e)(3). No. 2:17-CR-00067-SMJ, 2017 WL 6878097, at *1–2

(E.D. Wash. Dec. 22, 2017). One count fell under subsection (e)(3)(A) - an offense for which a

maximum term of imprisonment of ten years or more is prescribed in the Controlled Substances

Act, and the other fell under subsection (e)(3)(B) - an offense under 18 U.S.C. § 924(c). United

States v. Medrano, 2:17-cr-00067-SMJ, ECF Doc. 8, Mtn. for Detention. (E.D. Wash, May 3,



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2017). The court ultimately found the reasoning of Perry persuasive and granted Simmons

immunity for the defendant’s testimony at a detention hearing to rebut the presumption that

Medrano posed a serious danger to a person or the community if released. No. 2:17-CR-00067-

SMJ, 2017 WL 6878097, at *1–2 (E.D. Wash. Dec. 22, 2017

       The rationales of the holdings in Perry, Enix and Medrano do not apply here. The defendant

is not part of a class of defendants who need to rebut one of the statutory presumptions in the Bail

Reform Act.     Indeed, here, there are no applicable statutory presumptions relevant to the

defendant’s detention hearing. In Porretto v. Stalder, 834 F.2d 461 (5th Cir. 1987), the Fifth

Circuit held that a detention hearing does not require a defendant to surrender their Fifth

Amendment rights to assert their right to bail even when a bail statute places the burden of proof

on the defendant. Id. at 466. The defendant did not have to testify about the underlying facts of

the charges against him, nor did he have to testify at all. Hearsay is admissible at a detention

hearing. United States v. Taylor, 289 F. Supp. 3d 55, 70 (D.D.C. 2018). Therefore, a proffer or

presenting other witnesses would have done the same job and without the damage the defendant

inflicted upon himself. See United States v. Parker, 848 F.2d 61, 62-63 (5th Cir. 1988). While the

D.C. Circuit has yet to opine on this issue, the 1st, 5th, and 6th Circuits have thus far supported

the use of such detention hearing testimony against a defendant at a later trial. And while the Third

Circuit is the only circuit to have ruled in a different way, its decision was cabined by the rebuttable

presumption relevant to that defendant’s testimony. As noted by the Court in Enix (one of the few

district courts to support Perry’s rationale), if the defendant “was forced to decide between

testifying in an effort to rebut the Bail Reform Act presumptions to vindicate his constitutional

right of liberty,” he would be forced into the Simmons constitutional quagmire. 212 F. Supp. 3d at

411.



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       Here, the defendant’s exhaustive decision to testify to re-open his detention hearing

presents none of the same issues previously addressed by courts. He was not facing a rebuttable

presumption. He was not forced to testify about the events of January 6th in question. Indeed, the

purpose of his limited testimony was to discuss his prior transgressions relevant to his revocation,

and why the Court should reassess his ability to conform to Court order. And rather than carelessly

approach the defendant’s Fifth Amendment waiver, this Court, along with his prior counsel,

engaged in extensive efforts to deter the defendant’s self-representation. The defendant knowingly

waived those rights, to include the right to have his counsel advocate on his behalf regarding a

motion to re-open detention. Detention hearings – especially those without rebuttable

presumptions – are “a fundamentally different breed of cat.” Ingraham, 832 F.2d at 237. The

information presented at a bail hearing is “often less central to the nub of the case, and the “needed

input can usually be obtained from sources other than the suspect’s own testimony.” Id. at 237-38.

This holding is persuasive, in context and should extend to the facts of this case. Thus, we seek to

introduce such statements relevant to the charges underlying this indictment.

                                               Respectfully submitted,

                                               MATTHEW M. GRAVES
                                               UNITED STATES ATTORNEY
                                               D.C. Bar No. 481052

                                       By:      /s/ Mona Lee M. Furst
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                               CERTIFICATE OF SERVICE
        On this 22nd day of November 2021, a copy of the foregoing was served on
standby counsel of record for the defendant via the Court’s Electronic Filing System and
sent via USPS to the defendant Brandon Fellows Inmate #377943, D.C. Jail,
Correctional Treatment Facility, 1901 E. Street S.E., Washington, DC 20003.
                                                       /s/Mona Lee M. Furst
                                             Mona Lee M. Furst
                                             Assistant United States Attorney




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